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                  4N THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
______________________________________________________________________________
BONITA WILLIAMS,                    :
ADMINISTRATOR OF THE                :     CIVIL ACTION
ESTATE OF JOHN JERMILL              :
WILLIAMS, DECEASED,                 :     NO. 3:17-CV-6068-PGS-LHG
                                    :
                  Plaintiff,        :
            v.                      :
                                    :
NOHEMI FARFAN and                   :     JURY TRIAL DEMANDED
QUALITY LOGISTICS, INC. D/B/A       :
CT EXPRESS,                         :
                                    :
                  Defendants.       :
______________________________________________________________________________
AMIR JENKINS,                       :
                                    :
                  Plaintiff,        :
            v.                      :
                                    :
NOHEMI FARFAN and                   :
QUALITY LOGISTICS, INC. D/B/A       :
CT EXPRESS,                         :
                                    :
                  Defendants.       :
______________________________________________________________________________

                                             ORDER

       This matter having come before the Court in accordance with Local Civil Rule 83.3 and

referencing New Jersey Court Rule 4:44-3, as well as other rules of the Rules Governing the Courts

of the State of New Jersey; and counsel for the parties having reported that a settlement of

Plaintiff’s claims has been reached between all parties; and the Court further finding Administrator

of the Estate of John Jermill Williams sufficiently understands the terms of the settlement and

consents to entry of this Order; and the Court having reviewed the claims asserted in the Complaint

alleging damages to the Estate of John Jermill Williams, arising from an automobile accident on
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November 8, 2016 that resulted in his death; and the Court, finding that approval of the settlement

is required by virtue of the Wrongful Death Act, N.J.S.A. 2A:31-1, et seq., and the Survival Act,

N.J.S.A. 2A:15-3, et seq.; and the Court further finding the settlement is fair and reasonable; and

the Court having conducted a hearing on the record on February 11, 2019; and for all of the reasons

set forth on the record, and the court having approved the aforementioned settlement, and for good

cause shown;

          IT IS on this 15th day of February, 2019, upon consideration of the Amended Petition of

Plaintiff, Bonita Williams, Administrator of the Estate of John Jermill Williams, Deceased, for

Court Approval of Settlement of Wrongful Death and Survival Act Claims and Allocation and

Distribution of Litigation Costs, Attorney’s Fee, and Settlement Proceeds, it is hereby

          ORDERED that Plaintiff’s Amended Motion for Settlement Approval [Docket Entry No.

21] is GRANTED; and it is further

          ORDERED that Plaintiff’s Motion for Settlement Approval [Docket Entry No. 17] is

TERMINATED as SUPERSEDED; and it is further

          ORDERED that the above captioned case is hereby dismissed, without prejudice, until

the Court receives confirmation of compliance with the terms herein; and it is further

          ORDERED that Petitioner, Bonita Williams, Administrator of the Estate of John Jermill

Williams, deceased, is authorized to enter into a settlement with Defendants, Nohemi Farfan and

Quality Logistics, Inc. d/b/a CT Express, in the gross amount of Seven Hundred Eighty-Seven

Thousand Three Hundred Thirty-Four Dollars and Twenty-Six Cents ($787,334.26); and it is

further




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       ORDERED that Kline & Specter, P.C. is entitled to an attorney’s fee of 25% (Twenty-

Five Percent) of the net settlement proceeds after reimbursement of its litigation costs in

accordance with Rule 1:21-7, to be distributed as follows:



Gross Settlement Proceeds                                              $787,334.26

               To:     Kline & Specter, P.C.                           $26,298.53
                       (Reimbursement of Litigation Costs)

               To:     Kline & Specter, P.C.                           $190,258.93
                       (Attorney’s Fee – 25%)



       It is further ORDERED that the remaining $570,776.80 of the net settlement proceeds

shall be allocated 90% (Ninety Percent) to the Wrongful Death Act claim and 10% (Ten Percent)

to the Survival Act claim, to be distributed as follows:



Wrongful Death Act Proceeds (90%)                                      $513,699.12

               To:     Thrivest Legal Funding, LLC                     $17,905.31

               To:     Liberty Funding LLC                             $1,541.25

               To:     A.W., a Minor                                   $494,252.56
                       Funds to be placed in a Trust
                       for the benefit of A.W. Funds
                       to be held in escrow by Petitioner’s
                       counsel pending approval by a Court
                       of competent jurisdiction of a Trust
                       Agreement and Trustee.




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Survival Act Proceeds (10%)                                                 $57,077.68

               To:     A.W., a Minor                                        $57,077.68
                       Funds to be placed in a Trust
                       for the benefit of A.W. Funds
                       to be held in escrow by Petitioner’s
                       counsel pending approval by a Court
                       of competent jurisdiction of a Trust
                       Agreement and Trustee.



        Within ninety (90) days from the date of this final Order, counsel for Petitioner shall

provide the Court with a status update regarding compliance with this Order, including a proposed

timeline for compliance with this Order. Within one-hundred eighty (180) days, Counsel shall

transmit via mail or hand delivery an Affidavit with the Court certifying compliance with this

Order. The Affidavit shall bear the caption of the case and shall contain the court term and number.

Counsel shall attach to the Affidavit a copy of this Order.

        The Clerk’s Office is hereby instructed to close the case.

                                                      BY THE COURT:
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                                                      LOIS H. GOODMAN
                                                      United States Magistrate Judge




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